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In the Giited States Court of Federal Claims

OFFICE OF SPECIAL MASTERS
No. 14-574V
Filed: October 21, 2014

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LINDA COTHERN,

Damages Decision Based on Proffer;
Trivalent Influenza (Flu) Vaccine;
Shoulder Injury Related to Vaccine

Petitioner, *
SECRETARY OF HEALTH * Administration; SIRVA

AND HUMAN SERVICES,

Respondent.

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DECISION AWARDING DAMAGES"

Vowell, Chief Special Master:

On July 7, 2014, Linda Cothern filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq,” [the
“Vaccine Act” or “Program’]. Petitioner alleged that she suffered a shoulder injury which
was caused by the influenza vaccine she received on September 26, 2013. Petition at
1. The case was assigned to the Special Processing Unit of the Office of Special

Masters.

On October 15, 2014, | issued a ruling on entitlement, finding petitioner entitled to
compensation. On October 21, 2014, respondent filed a proffer on award of
compensation (“Proffer’) indicating petitioner should be awarded $80,000.00, an
amount representing “all elements of compensation to which petitioner would be entitled
under 42 U.S.C. § 300aa-15(a).” Proffer at 1. According to respondent's Proffer,
petitioner agrees to the proposed award of compensation. /d. Respondent indicates
petitioner is a competent adult and guardianship is not required in this case. /d.

 

‘ Because this unpublished decision contains a reasoned explanation for the action in this case, | intend
to post it on the United States Court of Federal Claims’ website, in accordance with the E-Government
Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501
note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, | agree that the identified material fits within this definition, | will redact such

material from public access.

? National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §

300aa (2006).
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Pursuant to the terms stated in the attached Proffer, | award petitioner a lump
sum payment of $80,000.00 in the form of a check payable to petitioner, Linda
Cothern. This amount represents compensation for all damages that would be
available under § 300aa-15(a).

The clerk of the court is directed to enter judgment in accordance with this
decision.*

s/Denise K. Vowell
Denise K. Vowell
Chief Special Master

 

? Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice
renouncing the right to seek review.
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IN THE UNITED STATES COURT OF FEDERAL CLAIMS
OFFICE OF SPECIAL MASTERS

 

LINDA COTHERN, )
)
)
Petitioner, ) No. 14-574V
) Chief Special Master
V. ) Denise K. Vowell
) ECF
SECRETARY OF HEALTH )
AND HUMAN SERVICES, )
)
Respondent. )
)

 

RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I. Compensation for Vaccine Injury-Related Items

Respondent proffers that based on the evidence of record, petitioner should be awarded
$80,000.00. This amount represents all elements of compensation to which petitioner would be
entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.
I. Form of the Award

The parties recommend that the compensation provided to petitioner should be made
through a lump sum payment as described below, and request that the special master’s decision
and the Court’s judgment award the following:'

A. A lump sum payment of $80,000.00 in the form of a check payable to petitioner, Linda
Cothern. This amount accounts for all elements of compensation under 42 U.S.C.

§ 300aa-15(a) to which petitioner would be entitled.

Petitioner is a competent adult. Evidence of guardianship is not required in this case.

 

' Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future medical
expenses and future pain and suffering.
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DATED: 21 October 2014

Respectfully submitted,

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